               Case 2:21-cr-00486-RGK Document 36 Filed 06/14/22 Page 1 of 6 Page ID #:162
                                                                                                                                  JS-3
                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             2:21-cr-00486-RGK-1

 Defendant           HUGO SANTAMARIA                                         Social Security No. 4         9   9     3
 akas:   “Paisa”                                                             (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH      DAY       YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.     06          13       2022

  COUNSEL                                                                  Peter Johnson, CJA
                                                                             (Name of Counsel)

      PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                    NOT
                                                                                                               CONTENDERE                GUILTY
     FINDING         There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Attempted reentry into United States Following Deportation, in violation of 8 U.S.C. § 1326(a), as charged in the
                     Single-Count Indictment.

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: Eighteen (18) MONTHS.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years under the following
terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office and
         Second Amended General Order 20-04.

2.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
         within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests per month, as
         directed by the Probation Officer.

3.       During the period of community supervision, the defendant shall pay the special assessment in accordance with this judgment's
         orders pertaining to such payment.

4.       The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate, passport or any other
         form of identification in any name, other than the defendant's true legal name, nor shall the defendant use, any name other than
         the defendant's true legal name without the prior written approval of the Probation Officer.

5.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

6.       The defendant shall comply with the immigration rules and regulations of the United States, and if deported from this country,
         either voluntarily or involuntarily, not reenter the United States illegally. The defendant is not required to report to the
         Probation Office while residing outside of the United States; however, within 72 hours of release from any custody or any
         reentry to the United States during the period of Court-ordered supervision, the defendant shall report for instructions to the
         United States Probation Office located at the United States Court House at: 300 N. Los Angeles Street, Suite 1300, Los
         Angeles, CA 90012-3323.


CR-104 (wpd 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 1 of 6
               Case 2:21-cr-00486-RGK Document 36 Filed 06/14/22 Page 2 of 6 Page ID #:163

 USA vs.     HUGO SANTAMARIA                                                 Docket No.:       2:21-cr-00486-RGK-1

7.       The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, or other areas under the
         defendant's control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit
         to a search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject
         to searches pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time and in a
         reasonable manner upon reasonable suspicion that the defendant has violated a condition of his supervision and that the areas
         to be searched contain evidence of this violation.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to pay and
is not likely to become able to pay any fine.

The Court has no objection to and recommends that defendant be designated to MDC, or a facility in Southern California.

Defendant advised of his right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            June 14, 2022
            Date                                                  R. Gary Klausner, United States District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court


            June 14, 2022                                   By    /s/ Joseph Remigio
            Filed Date                                            Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                             STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE
                             While the defendant is on probation or supervised release pursuant to this judgment:




CR-104 (wpd 12/20)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 2 of 6
               Case 2:21-cr-00486-RGK Document 36 Filed 06/14/22 Page 3 of 6 Page ID #:164

 USA vs.     HUGO SANTAMARIA                                                         Docket No.:      2:21-cr-00486-RGK-1

 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




CR-104 (wpd 12/20)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 3 of 6
               Case 2:21-cr-00486-RGK Document 36 Filed 06/14/22 Page 4 of 6 Page ID #:165

 USA vs.     HUGO SANTAMARIA                                                   Docket No.:     2:21-cr-00486-RGK-1


              The defendant must also comply with the following special conditions (set forth below).
              STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS
                        The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless
 the fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may
 be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are
 not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified
 check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and
 number. Payments must be delivered to:
           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012
 or such other address as the Court may in future direct.
           If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.
           The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).
           The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).
           Payments will be applied in the following order:
                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS
           As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.
           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.




CR-104 (wpd 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                     Page 4 of 6
               Case 2:21-cr-00486-RGK Document 36 Filed 06/14/22 Page 5 of 6 Page ID #:166



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




CR-104 (wpd 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                       Page 5 of 6
               Case 2:21-cr-00486-RGK Document 36 Filed 06/14/22 Page 6 of 6 Page ID #:167
 USA vs.     HUGO SANTAMARIA                                                   Docket No.:     2:21-cr-00486-RGK-1


                                               FOR U.S. PROBATION OFFICE USE ONLY
Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.
         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

         (Signed)
                     Defendant                                                    Date



                     U. S. Probation Officer/Designated Witness                   Date




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 6 of 6
